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                      IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF ARIZONA
  Aaron Cross, individually and the Arizona                    No. 4:24-cv-00506-RCC
  Conference of Police and Sheriffs, an
  Arizona nonprofit corporation,                               [PROPOSED] ORDER
                 Plaintiffs,
  vs.
  Chris Nanos, in his official capacity as
  Sheriff of the Pima County Sheriff's
  Department; Juan Carlos Navarro, in his
  official capacity as Captain of the Pima
  County Sheriff's Department,
                                Defendants.

       After considering Plaintiffs’ Motion For A Preliminary Injunction and Defendants’
Response,
       The Court finds that the conduct Plaintiffs seek to resume through injunctive relief is
prohibited by the Hatch Act, as amended, applied to the Pima County Sheriff’s Department
(“Department”) and Plaintiffs, including Department Sergeant Aaron Cross, because the
Department is financed in whole or in part by federal funding. The Court further finds the
conduct Plaintiffs seek to resume through injunctive relief is prohibited by established policies
and regulations of Pima County and the Department. Lastly, the Court finds that Plaintiffs have
not met their burden required before an injunction may be issued – a likelihood of success on
the merits, Plaintiffs will suffer irreparable harm, balance of equities tips in Plaintiffs’ favor, or
an injunction is in the public interest.
       IT IS HEREBY ORDERED that Plaintiffs’ Motion for Preliminary Injunction is
denied.
